                   IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE DISTRICT OF PUERTO RICO

In Re:                                                   Case No.: 19-04523-BKT

CARLOS JAVIER SOTO GONZALEZ,                            Chapter 7

Debtor.
___________________________________/

             TRUSTEE’S REQUEST FOR DISMISSAL UNDER SECTIONS
                             521 (a)(3) AND (4)

TO THE HONORABLE COURT:

         COMES NOW, NOREEN WISCOVITCH-RENTAS, CHAPTER 7 Trustee, and
respectfully informs the Court that the above Debtor has not provided or complied within
the initial 45 days after the Petition or conversion:


                    Complete Schedules. Section 521(a) (1).

                    Copies of Payment Advices, if applicable and if not applicable a
                    statement that none exist. Section 521(a)(1).

                    2019 Tax Returns within 7 days prior to the first date of the 341
                    Meeting of Creditors. Section 521 (e)(2)(A)(i).

                    Cooperate with the Trustee as necessary to enable the Trustee to
                    perform her duties under the Bankruptcy Code. Section 521(a)(4).
                    The Trustee has given to debtor the following dates for 341 meeting
                    of creditors:

                         • October 31, 2019: Debtor appeared

                         • November 21, 2019: Debtor requested continuance because
                            he did not have the documents requested at last meeting.

                         • December 12, 2019: Debtor appear.

                         • January 16, 2020: Debtor did not appear, because he needed
                            additional time to provide the documents requested by the
                            Office of the United States Trustee (hereinafter “UST”).

                         • February 13, 2020: Debtor did not appear, because Debtor’s
                            counsel was ill.
                         • February 20, 2020: Debtor appeared

                         • March 5, 2020: Debtor did not appear nor provided the
                            documents requested by the UST.


       In sum, the Debtor has failed to provide the documents requested by the United

States Trustee’s Office attached as Exhibit “A”. The trustee is unable to conclude the

341 Meeting of Creditors or finish the investigation into the Debtor’s pre-petition

financial affairs.

       WHEREFORE, The Trustee requests for the case to be dismissed for Debtor and
Debtor’s Counsel failure to appear at the continued 341 meeting of creditors set for
March 5, 2020, at 1:30pm, and failed to provide the documents requested by the UST to
complete the Bankruptcy process, which would have allowed the Trustee to properly
administer the case. See Section 521 (a) (3) and (4).


       NOTICE:        The Court may dismiss the case, if within 30 days, plus 3 days, if
served by mail, any party against whom this paper has been served and files an
objection or other appropriate response to this paper with the Clerk´s Office of the
United States Bankruptcy Court for the District of Puerto Rico. If no objection or other
response is filed within the time allowed herein, this motion will be deemed unopposed
and may be granted unless (i) the requested relief is prohibited by law; (ii) the requested
relief is against public policy; or (iii) in the opinion of the Court, the interest of justice
requires otherwise.
             I HEREBY CERTIFY that a true and correct copy of the foregoing has
been sent to Debtor(s)’ attorney by CM/ECF system and by regular mail to Debtor,
CARLOS JAVIER SOTO GONZALEZ, PO BOX 142776, ARECIBO, PR 00614 on this
9th day of March 2020.

                               /s/Noreen Wiscovitch-Rentas
                               NOREEN WISCOVITCH-RENTAS
                               CHAPTER 7 TRUSTEE
                               PMB 136
                               400 Calle Kalaf
                               San Juan, PR 00918
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